    Case: 1:21-cv-03240 Document #: 68 Filed: 10/07/22 Page 1 of 3 PageID #:316




               IN THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 PETE CZOSNYKA, et al.,

                       Plaintiff,                   Case No. 1:21-cv-03240

               v.
                                                    Honorable Sharon Johnson Coleman
 JAMES GARDINER, et al.,

                       Defendants.


                                    JOINT STATUS REPORT

       NOW COME all parties, by their undersigned counsel, and submit the following joint

status report pursuant to the Court’s September 13, 2022 Minute Order (Dkt. 67), to apprise the

Court of the status of the Office of the Inspector General’s (“OIG”) production and any disputes

over documents withheld based on a claim of privilege:

       1.     On September 7, 2022, the OIG produced 561 pages of documents responsive to

Plaintiffs’ subpoena for OIG complaints and associated investigative documents related to

Alderman James Gardiner’s Facebook page from May 7, 2019 to present. A privilege log

describing the basis for the OIG’s withholding of certain privileged information was produced on

September 12, 2022.

       2.     The OIG moved to quash the remaining portions of Plaintiffs’ subpoena that sought

materials related to Plaintiffs’ complaints about Gardiner that did not specifically focus on

Gardiner’s use and regulation of his Facebook page and non-party complaints about Gardiner’s

use and regulation of his Facebook page.

       3.     On September 13, 2022, a hearing was held on the OIG’s motion to quash. This

Court granted in part and denied in part the OIG’s motion and ordered Plaintiffs to take the
    Case: 1:21-cv-03240 Document #: 68 Filed: 10/07/22 Page 2 of 3 PageID #:317




depositions of Gardiner and his staff members to determine whether Plaintiffs believed they were

entitled to additional documents beyond what the OIG has already produced. (See Dkt. 67).

       4.      The Court also directed the OIG to investigate whether the OIG possessed any non-

privileged materials related to interviews with Plaintiff, Peter Czosnyka (“Czosnyka”), as well as

any responsive and non-privileged interviews with Gardiner or his staff members.

       5.      Lastly, the parties were ordered to file a joint status report to update the Court on

the OIG’s investigation by October 7, 2022. Additionally, Plaintiffs were ordered to file their

objections, if any, to the OIG’s assertions of privilege as reflected in the produced privilege log by

October 7, 2022. (See Dkt. 67).

       6.      To date, Plaintiff has not raised any objection concerning the OIG’s privilege log.

       7.      The OIG has since investigated the matters raised by the Court at the September 7,

2022 hearing. The OIG has located four interview reports that are responsive to the Court’s

inquiry.

       8.      One report memorializes an interview with Czosnyka in an open OIG investigation

done in follow up to Czosnyka’s non-Facebook related complaint about Gardiner. As such, the

OIG believes this report is confidential and privileged from disclosure.

       9.      The other three reports memorialize interviews with two of Gardiner’s staff

members. The first staff member interview report is related to an open investigation, and therefore

privileged. The second staff member interview report is not related to Gardiner’s use of the

Facebook page and therefore it is not responsive to Plaintiff’s subpoena.

       10.     The third staff member interview report does discuss the use of Gardiner’s

Facebook page but is beyond the scope of Plaintiff’s subpoena because it is from an investigation

that arises from a non-Facebook related complaint about Gardiner.



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    Case: 1:21-cv-03240 Document #: 68 Filed: 10/07/22 Page 3 of 3 PageID #:318




       11.     Based on the production received from the OIG and the other discovery conducted

to date, Plaintiffs will withdraw their request for further document production from OIG.

       12.     Plaintiffs have taken the depositions of Defendant Alderman Gardiner and former

staff member Tanya King. Plaintiffs have also interviewed former staff member Ethan Brady, the

only other witness disclosed by Gardiner.

Respectfully submitted,


 By: /s/ Eileen E. Rosen
 Special Assistant Corporation Counsel
 One of the Attorneys for the City of Chicago
 Office of the Inspector General
 Eileen E. Rosen
 Andrew Grill
 Jessica L. Zehner
 Rock Fusco & Connelly, LLC
 333 W. Wacker Drive, Floor 19
 Chicago, Illinois 60606
 (312) 474-1000
 erosen@rfclaw.com
 agrill@rfclaw.com
 jzehner@rfclaw.com

 /s/Adele D. Nicholas
 Counsel for Plaintiffs

 Law Office of Adele D. Nicholas
 5707 W. Goodman Street
 Chicago, Illinois 60630
 (847) 361-3869
 adele@civilrightschicago.com




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